Case 2:05-cv-02159-BBD-dkv Document 23 Filed 07/14/05 Page 1 of 2 Page|D 27

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DIsTRlCT oF TENNESSEE 05 JUL |h AH l|= 05
WEsTERN DIVISION
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KATHERYN LEE, W/D 1..- ..1. .naPHS
Plaintiff,
v. NO. 05-2159_ Dv

MEMPHIS CITY SCHOOLS, a special school district,
CAROL JOHNSON, Individually and in her Professional
Supervisory capacity as Superintendent for Defendant
Memphis City Schools, WILLIE MAE WILLET,
Individually and in her Professional Supervisory capacity
as Principal of the Holmes Road Elernentary School,
MICHAEL J. GOAR, Individually and in his Professional
Superviscry capacity as Director of I-Iuman Resources for
Defendant Mernphis City Schnols, VON W. GOODLOE,
lndividuaily and in his Professionai Supcrvisory capacity
as Labor Relations Supervisor for Defendant Memphis
City Schools, JAMES DAVIS, lndividually and in his
Profcssional Supervisory capacity as Director cf Labor and
Employee Relations for Defendant Memphis City Schools,
and KIM SHAWN GARY, Uniservice Dircctcr MEA.

Defendants.

 

ORDER SETTING ASIDE ENTRY OF DEFAULT JUDGMENT

 

This cause came to be heard upon the Motion of the defendant, Willie Mae Willett, and, for

good cause shown,

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that the Default Judgment

 

 

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with Ru|e 58 and/or 79(a) FRCP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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Richard L. Colbert

COLBERT & WINSTEAD, P.C.
1812 Broadway

Nashville, TN 37203

Courtney Lynch Wilbert
COLBERT & WINSTEAD, P.C.
1812 Broadway

Nashville, TN 37203

Michael G. Floyd

FLOYD LAW FIRM
2129 Winchester Rd.
1\/1emphis7 TN 38116

Michael R. Marshall

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Cheryl R. Estes

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 South Main Street

Ste. 2900

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

